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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

                          CASE NO.: 18-62193-CIV-SMITH/VALLE

  MILITA BARBARA DOLAN, on Behalf of
  Herself and All Others Similarly Situated,

           Plaintiff,                              CLASS ACTION

  vs.

  JETBLUE AIRWAYS CORPORATION,

        Defendant.
  ____________________________________/


       PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT
     JETBLUE AIRWAYS CORPORATION’S MOTION FOR SUMMARY JUDGMENT




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           Plaintiff Milita Dolan (“Plaintiff”) respectfully submits the following opposition to
  Defendant JetBlue Airways Corporation’s (“JetBlue” or “Defendant”) Motion for Summary
  Judgment and Memorandum of Law in Support [ECF No. 141] (“Motion” or “Mot.”).
  I.       INTRODUCTION
           On JetBlue’s website, Plaintiff purchased a trip insurance policy from Allianz Global
  Assistant (“Allianz” or “AGA”). Plaintiff understood from JetBlue’s website that the entire charge
  for her policy would go to Allianz. Unbeknownst to Plaintiff,          of the price she paid for her
  policy was ultimately retained by JetBlue as an undisclosed kickback. In denying JetBlue’s motion
  to dismiss, Judge Scola followed Judge Martinez and Judge Goodman’s decision in a virtually
  identical action against American Airlines and held that it would be deceptive in violation of the
  Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”) if JetBlue’s website created the
  “net impression” that the charge for Plaintiff’s trip insurance policy was a “pass-through” fee that
  would be paid to Allianz, but JetBlue in fact retained a portion of the charge. The evidence now
  categorically supports these facts, and it is undisputed that the ultimate determination of whether
  JetBlue’s conduct is deceptive in violation of FDUTPA is a question of fact for the jury. Similarly,
  the jury must decide whether JetBlue’s conduct violated the Racketeer Influenced and Corrupt
  Organizations Act (“RICO”), and whether JetBlue was unjustly enriched through its undisclosed
  kickback scheme.
           JetBlue moves for summary judgment but entirely fails to meet its burden to demonstrate
  the absence of genuine disputes as to any material fact. Instead, JetBlue mischaracterizes or
  misrepresents the case law and evidence it cites, at times it simply ignores the applicable law or
  evidence that does not fit its false narrative, and at others, it attempts to improperly seek
  reconsideration of Judge Scola’s well-reasoned holdings by raising the exact same arguments that
  Judge Scola previously rejected. Thus, it is critical that JetBlue’s arguments, and the evidence and
  case law it cites in support, be analyzed extremely carefully. A careful review of JetBlue’s
  disingenuous tactics will lead to only one conclusion: JetBlue has not come close to meeting its
  burden on summary judgment. For the reasons detailed below, JetBlue’s Motion should be denied.
  II.      FACTUAL BACKGROUND
           JetBlue’s statement of alleged “undisputed” facts is a perfect example of its litigation
  tactics throughout this case, namely the creation of an entirely illusory fact pattern that suits its
  interests, without regard for the actual record evidence. The reality, however, is far different, and
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  the record in this case is rife with evidence – including multiple admissions from JetBlue’s and
  Allianz’s own witnesses – that directly rebut what JetBlue claims are “undisputed” facts.1
           JetBlue characterizes its relationship with Allianz, and the compensation it receives when
  a consumer such as Plaintiff purchases a trip insurance policy, in a manner that its own witnesses
  admit is not true. Specifically, JetBlue claims it does nothing more than allow Allianz to
  “advertise” on its website in exchange for a fee, while simultaneously claiming that it has no input
  whatsoever into the content of those advertising messages. These allegedly “undisputed” facts are
  categorically false, as the record demonstrates. First, JetBlue does not sell advertising space to
  Allianz, and JetBlue receives no “advertising fees.” The evidence shows that what JetBlue
  receives are commission payments from Allianz on a policy-by-policy basis, and the percentage
  of these commissions is staggering, totaling        of each consumer’s payment. JetBlue admits
  this fact. RSF ¶¶2, 7, 15 (“                                                               ”).
           Second, JetBlue’s attempt to run from its misrepresentations and omissions by pinning the
  blame on Allianz also rests on a false foundation. JetBlue and Allianz both admit that: (1) JetBlue
  has input into the content of the insurance offers on its own website; (2) JetBlue never told
  consumers the identity of the entity offering the product to them; and (3) JetBlue has
                                    . RSF ¶¶3, 8. Indeed, JetBlue is empowered to remove the offer
  box from its website at any time. Id. (Marketing Agreement §3.2). Thus, the idea that JetBlue
  somehow does not actually make the false statements and omissions on its own website is
  categorically untrue based upon Defendant’s own testimony and documents.
           What is undisputed is that at no time has JetBlue ever told any consumer, including
  Plaintiff, that it receives a       kickback from the consumer’s insurance purchase. JetBlue
  ironically tries to turn this undisputed fact in its favor, claiming that while it never told any
  consumer about its kickbacks, it also never told consumers it was not receiving compensation.
  This is wholly disingenuous, and it infects all of JetBlue’s arguments, including its expert reports.
  Again, JetBlue creates a false construct – the notion that it receives some form of “advertising fee”
  – that its experts then use to conduct surveys asking whether respondents would assume that
  JetBlue is receiving some form of alleged “advertising fee” in exchange for giving Allianz access

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    Factual citations are to Plaintiff’s concurrently filed Response to JetBlue’s Statement of Facts
  (“RSF”).

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  to its website. Naturally, many people would assume (as would be the case for a billboard on
  Interstate 95) that if an entity rents advertising space it pays a fee, but that is not the fact pattern
  of this case. As much as JetBlue and Allianz may want this Court (and the public) to believe that
  they simply exchange a routine advertising fee untethered to each purchase of travel insurance,
  that is utterly false. All of JetBlue’s survey evidence and experts are wholly irrelevant, as none of
  them asked consumers the actual relevant question in this case: whether JetBlue’s receipt of
  of the money they pay would be relevant to their purchase decision. As Plaintiff’s experts have
  demonstrated, the answer to that question is yes. RSF ¶¶36-46.
           Finally, JetBlue’s attempts to claim that it somehow does not receive a portion of what
  customers pay for policies, or that the filed rate doctrine bars Plaintiff’s claims, are again
  disconnected from the factual record. The filed rate doctrine is irrelevant here because JetBlue
  and Allianz were not charging any filed rate, as confirmed by the chief Allianz underwriter’s
  testimony. RSF ¶¶68, 74. Further proof of this fact is the contract between JetBlue and Allianz,
  which never mentions the charging of any filed rate, but rather states that price of insurance is
  based off a percentage of the consumer’s airline ticket price. Id. at ¶69 (contract page 12 states
  pricing is “                     ”). As to JetBlue’s claim that it somehow does not receive the very
  same money its customers are paying for insurance policies, Allianz’s own senior management
  admitted that the same money JetBlue’s customers pay can revert directly back to JetBlue (and
  indeed Allianz has no safeguards in place to prohibit that). Id.
           At bottom, JetBlue creates this false factual construct because it knows the actual facts, as
  demonstrated by its own witnesses and its own documents, not only preclude summary judgment
  in its favor, but they prove Plaintiff’s case on each of her claims.
  III.     ARGUMENT
           A.      JetBlue Fails to Meet Its Burden to Demonstrate the Absence of a
                   Genuine Dispute as to Any Material Fact On the Issue of “Deception”
           JetBlue asserts that “[i]n order to prevail on any of her claims, Plaintiff must prove a
  deception by JetBlue.” Mot. at 5. This is false. “Deception” is an element of Plaintiff’s FDUTPA
  claim only, and JetBlue cites no law holding otherwise. The only legal analysis or authorities
  JetBlue provides pertain to Plaintiff’s FDUTPA claim, and disputed issues of material fact
  preclude summary judgment as to the element of deception in Plaintiff’s FDUTPA claim.



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            The law is clear on the applicable test for deception here: “In determining whether a
  representation is likely to mislead consumers acting reasonably, courts consider the net impression
  created.” Zamber v. Am. Airlines, Inc., 282 F. Supp. 3d 1289, 1299 (S.D. Fla. 2017) (original
  emphasis);2 Coleman v. CubeSmart, 328 F. Supp. 3d 1349, 1365 & n.6 (S.D. Fla. 2018) (same).
  Whether a net impression is likely to mislead a reasonable consumer is a question of fact for the
  jury. Zamber, 282 F. Supp. 3d at 1300. Here, the jury will decide whether JetBlue’s website
  creates a “net impression” that the charge for trip insurance is a “pass through” fee that is paid to
  Allianz, and whether that impression is deceptive in light of the fact that          of the fee goes to
  JetBlue. See ECF No. 87 at 12 (“MTD Order”) (“This is deceptive.”).3
                   1.      Judge Scola’s Holding that This Is a Pass-Through Case Is the
                           Law of the Case and Should Not Be Reconsidered
            Judge Scola previously held that the facts of this case state a FDUTPA claim under a “pass-
  through” theory. MTD Order at 12-14. JetBlue attempts to escape that holding by inventing out
  of whole cloth additional purported requirements JetBlue claims are necessary to plead a viable
  pass-through case. Mot. at 8-9 & n.9. Judge Scola’s holding constitutes the law of the case, and
  JetBlue offers no reason for this Court to disturb that well-reasoned holding.4 See Klay v. All
  Defendants, 389 F.3d 1191, 1197 (11th Cir. 2004) (“The law of the case doctrine “‘posits that


  2
      Citations, internal quotations, and footnotes omitted and emphasis added unless otherwise noted.
  3
    JetBlue asserts that “[b]ecause Plaintiff claims to be typical of the putative class, the fact that she
  assumed JetBlue was being compensated evidences that JetBlue’s actions were not deceptive to
  her or to a reasonable consumer[.]” Mot. at 7 n.7. This assertion mischaracterizes the evidence,
  RSF ¶¶48-51, 57-58, and the class certification typicality inquiry, which asks whether claims arise
  from the same course of conduct but allows for “factual variations,” which do not render a “claim
  atypical unless the factual position of the representative markedly differs from that of other
  members of the class.” Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337 (11th Cir.
  1984).
  4
    Indeed, Judge Scola’s holding is supported by no less than seven cases holding that facts just like
  those presented here pled a FDUTPA claim under a pass-through theory: Latman v. Costa Cruise
  Lines, N.V., 758 So. 2d 699, 703 (Fla. 3d DCA 2000); Turner Greenberg Assocs., Inc. v. Pathman,
  885 So. 2d 1004, 1008 (Fla. 4th DCA 2004); Jankus v. Edge Investors, L.P., 650 F. Supp. 2d 1248,
  1257 (S.D. Fla. 2009); Bowe v. Public Storage, 2014 WL 12029270, at *3 (S.D. Fla. July 2, 2014);
  Deere Constr., LLC v. Cemex Constr. Materials Fla., LLC, 198 F. Supp. 3d 1332, 1340 (S.D. Fla.
  2016); Zamber, 282 F. Supp. 3d at 1300; CubeSmart, 328 F. Supp. 3d at 1366. Judge
  Middlebrooks reached the exact same holding as Judge Scola in denying a motion to dismiss on
  indistinguishable facts. Donoff v. Delta Air Lines, Inc., No. 9:18-CV-81258 (S.D. Fla.).

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  when a court decides upon a rule of law, that decision should continue to govern the same issues
  in subsequent stages in the same case.’”) (quoting Christianson v. Colt Indus. Operating Corp.,
  486 U.S. 800, 816 (1988)). The purported pass-through-case requirements JetBlue asserts are a
  fiction with no legal support. JetBlue simply cherry-picks from different cases certain facts that
  courts found to be sufficient to state a claim under a pass-through theory, but JetBlue has not cited
  a single case holding that such facts are necessary to state a claim. See Fletcher v. Lupo, 2009
  WL 10688890, at *7 (N.D. Ala. Apr. 15, 2009) (recognizing the “error of logic in failing to
  distinguish between sufficient and necessary conditions of liability”).
           As to JetBlue’s first invention that pass-through cases require an “affirmative
  misrepresentation as to the use of a specific fee or charge for a particular purpose,” Mot. 8-9, in
  the virtually identical Zamber case – a case that JetBlue neither cites nor distinguishes – Judge
  Martinez and Judge Goodman found that “[e]ven if Plaintiff had not adequately pled a deceptive
  representation, [s]he would still alternatively state a claim based on a deceptive omission” as
  “FDUTPA applies to both representations and omissions.” 282 F. Supp. 3d at 1300 n.8; see also
  CubeSmart, 328 F. Supp. 3d at 1365 n.6 (same). Contrary to JetBlue’s unsupported assertion,
  Judge Martinez and Judge Goodman noted that a plaintiff is not required “to identify any
  statements or representations by Defendants as to how the fees would be calculated in order to
  state a claim of deception or falsity[.]” Zamber, 282 F. Supp. 3d at 1299.
           JetBlue tellingly ignores the virtually identical Zamber case and instead cites to a highly
  distinguishable case it ironically claims is “squarely on point”: Bergman v. Royal Caribbean
  Cruises, Inc., 2005 WL 8156741 (S.D. Fla. Sept. 29, 2005). The plaintiff in Bergman relied on a
  deceptive statement in the liability clause of a contract but failed to allege anything in the “pricing
  section” of a cruise ship shore excursion that implied a pass-through fee, and the court noted that
  “[t]he case may have been different if this phrasing was in a pricing section.” Id. at *3. By
  contrast, here, JetBlue did make an affirmative misrepresentation as to the use of a specific fee for
  a particular purpose “in the pricing section” of its trip insurance offer, i.e., $X for trip insurance,
  when, in fact,        of $X (the majority) went to JetBlue. Thus, even under JetBlue’s tortured
  rewriting of the law, the facts of this case clearly fall within the “pass-through” line of cases.
           As to the second purported requirement JetBlue invents, there is no requirement that a
  representation “clearly imply” a pass through. Mot. at 8 n.9. As the analogous Zamber case makes


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  clear, the test for deception is the “net impression” that is created, and whether JetBlue’s website
  creates a net impression of a deceptive pass-through fee – “clearly” or otherwise – is a question of
  fact for the jury. 282 F. Supp. 3d at 1299-300.
           Finally, JetBlue’s third invention of law, that a defendant must directly collect and retain a
  portion of a pass-through fee (rather than receive a kickback from the third party), Mot. at 9-10, is
  entirely based on a hyper-technical interpretation of the words “collect” and “keep” that were
  alleged by the plaintiff in a single case: Latman, 758 So. 2d 699. There, the defendant cruise line
  tried to shirk pass-through liability by pointing the finger at the travel agents who technically sold
  the defendant’s cruise line tickets directly to the customers. In rejecting the attempted distinction,
  the court wrote that it was the defendant cruise line, not the agents, who “elected to itemize an
  amount on the ticket for [deceptive] port charges, and determined the disposition of funds.” Id. at
  704; CubeSmart, 328 F. Supp. 3d at 1361-66 (denying motion to dismiss FDUTPA claim premised
  on pass-through theory where there was no allegation that the defendant storage company, as
  opposed to the third-party insurer, set the amount of the bogus charge). Here, similarly, it was
  JetBlue who gave customers the deceptive net impression that a customer’s payment for travel
  insurance—all of it—was through to Allianz when, in fact, a portion of it was being “kicked back”
  to JetBlue. Latman’s passing reference to those words could not have been intended to create a
  standard of liability that defendants could easily escape by simply restructuring the flow of money
  in order to deceive consumers regarding purported “pass-through” fees while collecting
  undisclosed kickbacks with impunity. Indeed, Judge Scola agreed with Judge Martinez and Judge
  Goodman in the factually indistinguishable Zamber case (that JetBlue ignores), which also
  involved Allianz as the insurer, and rejected the same argument JetBlue advances here, albeit in
  connection with an unjust enrichment analysis, but the logic applies equally to a FDUTPA claim,
  which all three judges upheld despite this argument:
           It is immaterial whether [the defendant airline] initially retained a portion of the
           funds Plaintiff paid for his policy and then sent the rest to the insurer or if all the
           funds went to an insurer and then a portion was “kicked back” to [the defendant
           airline]. Certainly, “[u]nder either scenario, money was transferred from Plaintiff’s
           pocket and into [the defendant airline]’s.”
  MTD Order at 12-13 (quoting Zamber, 282 F. Supp. 3d at 1301).




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                   2.    Genuine Disputes of Material Fact Exist as to Whether JetBlue
                         Creates a Net Impression of a Pass-Through Fee
           At bottom, this is plainly a pass-through case,5 and there is ample evidence in the record
  from which a jury can find that JetBlue’s website creates the net impression of a pass-through fee
  that is likely to mislead a reasonable consumer because JetBlue receives            of the fee. The
  primary evidence the jury will consider is JetBlue’s website.6 See Fed. Trade Comm’n v.
  Alcoholism Cure Corp., 2011 WL 13137951, at *25 (M.D. Fla. Sept. 16, 2011) (noting that “[t]he
  meaning of an advertisement, the claims or net impressions communicated to reasonable
  consumers is fundamentally a question of fact” that “may be resolved by the terms of the
  advertisement itself”). In addition, the record includes expert evidence by Brian M. Sowers
  (“Sowers”) who has opined, based on reliable consumer survey evidence, that “relevant consumers
  take away a misleading belief that JetBlue does not receive a portion of the money that consumers
  pay for trip insurance purchased through JetBlue’s website.” RSF ¶43. Although JetBlue criticizes
  Sowers’ opinion,7 and submits a competing expert report, which Sowers has opined is fatally


  5
    JetBlue asserts that “applying the pass-through line of cases here would place on businesses an
  otherwise non-existent duty to disclose their financial arrangements with vendors regardless of
  whether that interest had any impact on the product itself or its price” and cites a distinguishable
  case involving an escrow agent’s duty to inform a bankruptcy receiver of its financing efforts,
  which does not establish any blanket rule regarding a duty to disclose “financial interests.” Mot.
  at 9 (citing W. Sunrise Dev. Corp. v. Smoler, 2016 WL 5369338, at *2-3 (S.D. Fla. Sept. 26, 2016)).
  JetBlue ignores the fact that the law does impose a duty to disclose material facts and a duty to not
  mislead with respect to pass-through charge. The law makes no exception for purported “financial
  arrangements with vendors.” JetBlue’s plea for amnesty is far off the mark.
  6
    JetBlue suggests Plaintiff cannot prove she actually saw any of the representations in the “offer
  box” on JetBlue’s website. Mot. at 6. Plaintiff unequivocally testified that when purchasing her
  trip insurance from JetBlue’s website, she took away the impression a pass-through fee, and that
  JetBlue would not be receiving a majority of her payment. RSF ¶¶48-51. Further, JetBlue
  produced in discovery screen shots of the exact images Plaintiff saw when making her purchase,
  which will be presented to the jury to make its own determination of whether JetBlue’s website
  created a net impression of a pass-through fee to an objective reasonable consumer. Id. ¶28. Even
  though Plaintiff did take away this net impression, her subjective views are irrelevant to her claim.
  See Zamber, 282 F. Supp. 3d at 1299 (“Because ‘an objective test is employed in determining
  whether the practice was likely to deceive a consumer acting reasonably,’ a plaintiff ‘need not
  show actual reliance on the representation or omission at issue.”).
  7
    JetBlue’s criticisms of Sowers’ opinion do not affect its admissibility. See Quiet Tech. DC-8,
  Inc. v. Hurel-Dubois UK Ltd., 326 F.3d 1333, 1345 (11th Cir. 2003) (expert t criticisms “go to the

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  flawed, Id. ¶¶36-46, such a “battle of the experts” over a disputed issue of material fact must be
  resolved by the jury, which precludes summary judgment. See Goldman v. Standard Ins. Co., 341
  F.3d 1023, 1036 (9th Cir. 2003) (denying summary judgment because determination “who is
  correct in this battle of experts is not for [the Court] to decide”).
           JetBlue’s attempt to ignore the evidence and have deception decided as a matter of law
  should be rejected. While JetBlue asserts that its representations are “true” and, therefore, cannot
  be deceptive as a matter of law, Mot. at 6,8 the virtually identical Zamber case makes clear that
  “[i]f the statements are likely to mislead reasonable consumers, then it makes no difference if the
  statements are technically or literally true.” 282 F. Supp. 3d at 1299. Similarly, JetBlue’s
  insistence that it is not deceptive to itemize the charge for trip insurance separately from JetBlue’s
  fare is also contradicted by the virtually identical Zamber case JetBlue ignores, where Judge
  Martinez and Judge Goodman noted that the “net impression” that the charge for trip insurance is
  a “pass through” fee “is reinforced by the fact that the policy premium is allegedly not included in
  the customer’s bill for the purchased airfare, but rather is listed separately.” Id. at 1300.9


  weight, not the admissibility, of the evidence . . . offered” and citing cases). It should be noted,
  however, that JetBlue’s false assertions that Sowers’ survey shows that “over two-thirds of the
  consumers who view JetBlue’s website did not form the opinion that JetBlue was not being
  compensated” demonstrates, at best, a lack of understanding of consumer survey science and, at
  worst, a knowing misrepresentation of the evidence, as Sowers’ explicitly states that the results
  should not be interpreted this way. RSF ¶46. When interpreted in the correct manner, the data
  shows that nearly two-thirds (65.7%) of respondents in the Test Group did not take away a clear
  impression from the JetBlue website that JetBlue is being compensated by AGA. Id. And that is
  the relevant question on deception here.
  8
    The case JetBlue cites for support does not stand for the proposition that JetBlue says it does.
  Rather, the court in Allyn v. Am. Bd. of Med. Specialties, Inc., 2019 WL 297459, at *7 (M.D. Fla.
  Jan. 3, 2019), simply found that, unlike here, “nowhere do Plaintiffs explain how th[e true]
  statement would impact consumers.”
  9
   Instead of confronting the reality of the factually indistinguishable Zamber case, (S.D. Fla. 2007)
  JetBlue elected to cite the completely distinguishable case of Berry v. Budget Rent A Car Sys.,
  Inc., 497 F. Supp. 2d 1361, 1367 (S.D. Fla. 2007). There, the plaintiff challenged the practice of
  adding an additional “cost recovery fee” to the daily rental rate charged to customers. Id. at 1363.
  Unlike here, the plaintiffs made no allegations of a pass-through charge, and the court found that,
  “[o]n the contrary, the term ‘cost recovery fee’ itself implies that the company will keep the money
  collected as ‘recovery’ for its costs.” Id. at 1367. Here, unlike in Berry, Zamber holds that the
  separate itemization of trip insurance reinforces the net impression of a pass-through fee.


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            Further, in support of its bald assertion that this is a “pure alleged omissions case” for
   which “absence of a duty to disclose is fatal,” JetBlue bizarrely cites the portion of Judge Scola’s
   MTD Order that explicitly rejected JetBlue’s “misdirected” argument and correctly found that
   “Dolan’s complaint is not centered only on JetBlue’s failure to disclose the alleged kickbacks it
   was receiving on each policy[.]” MTD Order at 14-15 (cited at Mot. at 7 n.6). As Judge Scola
   held, in light of the affirmatively misleading nature of JetBlue’s conduct, Plaintiff is not required
   to establish a “duty” to disclose JetBlue’s financial interest in trip insurance for her RICO claims.
   The same holds true for her FDUTPA claim. See Coffey v. WCW & Air, Inc., 2018 WL 4154256,
   at *4 (N.D. Fla. Aug. 30, 2018) (“It is not clear whether plaintiffs must establish an independent
   duty to disclose on a FDUTPA claim based on an omission affirmatively used to mislead.”).
            Even if this were a “pure omissions” case, JetBlue has a duty to disclose its financial
   interest in trip insurance because it is material, and JetBlue concedes it has a duty to disclose
   material facts. Mot. at 7; see also Coffey, 2018 WL 4154256, at *4 (“a seller has a duty to disclose
   material information that is “not equally within the ken of the buyer”).10 Materiality is a question
   of fact for the jury. Rasor Capital, LLC v. CMAX Fin. LLC, 2017 WL 3481761, at *5 n.11 (S.D.
   Fla. Aug. 14, 2017). A jury can easily find materiality from Plaintiff’s testimony that she probably
   would not have purchased trip insurance had she known of JetBlue’s kickback, RSF ¶¶48-51.
   JetBlue’s mischaracterization of Plaintiff’s testimony11 and its flawed consumer survey, id. ¶47,
   at best, create a genuine dispute of material fact that precludes summary judgment.




   10
      JetBlue attempts to invent an additional requirement to create a duty to disclose: that the
   “disclosure [is] necessary to prevent” a plaintiff from being misled. Mot. at 7 (citing In re
   Managed Care Litig., 298 F. Supp. 2d 1259, 1278 (S.D. Fla. 2003)). Not even the Managed Care
   case JetBlue cites establishes such a requirement, which appears to conflate the questions of
   materiality and deception. The law imposes a duty to disclose material information. Full stop.
   Deception is a separate inquiry.
   11
      Despite JetBlue’s indefatigable efforts to mischaracterize the theory of Plaintiff’s case, the issue
   is not whether JetBlue is “being compensated.” Mot. at 17. The issue is that JetBlue receives an
   undisclosed       kickback on each trip insurance policy sold, i.e., over half of the money that a
   reasonable consumer would believe is going to Allianz to pay for the cost of the policy. While
   Plaintiff assumed JetBlue would receive some compensation, JetBlue cannot deny that Plaintiff
   unequivocally testified that she did not know that JetBlue received a             kickback from her
   payment and that this fact is material to her. Mot. at 7.

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            Finally, JetBlue attempts to escape liability by asserting that “the content of the insurance
   offer was authored by AGA.” Mot. at 6 n.5. This is false. The content was created through a
   collaborative effort, through which JetBlue reviews content, recommends specific wording to
   Allianz, and holds veto authority over all content that appears on its website. RSF ¶3. Further,
   JetBlue cannot escape the fact that the content appears on JetBlue’s website, on which JetBlue
   elected to deceptively itemize the charge for trip insurance separately from airfare, and it is the net
   impression of JetBlue’s website that is at issue, not any individual statement standing alone. Id.
   The Declaration of Bengench Atayev JetBlue cites as evidence (ECF No. 139-4 (“SUMF”)) does
   not contradict any of these facts, and in fact, does not even state that Allianz authors the content
   of the offer box. At bottom, “[w]hether a reasonable consumer would interpret [JetBlue’s]
   representations to mean that the trip insurance premium is a ‘pass through’ charge is thus a question
   of fact for a jury.” Zamber, 282 F. Supp. 3d at 1300. Thus, even with JetBlue’s flimsy evidence,
   JetBlue has only created a genuine issue of material fact that cannot be resolved on summary
   judgment. JetBlue’s Motion should be denied.
            B.      Summary Judgment Is Not Warranted on the Issues of Damages
                    Because JetBlue’s Motion Grossly Mischaracterizes Applicable Law
                    1.     FDUTPA Does Not Require a Showing of “Benefit of the
                           Bargain” Damages or “Premium Payment” Damages
            In denying JetBlue’s motion to dismiss, Judge Scola followed the virtually identical
   Zamber decision that JetBlue ignores to hold that “[u]nder FDUTPA, . . . damages are shown by
   the fact that [the p]laintiff parted with money for what should have been a pass through charge but
   that was instead kept by [the defendant airline].” MTD Order at 12 (citing Zamber, 282 F. Supp.
   3d at 1300 (collecting cases)); see also Morgan v. Pub. Storage, 2015 WL 11233111, at *2 (S.D.
   Fla. Aug. 17, 2015) (damages in pass-through case are the amount kept by the defendant); Turner,
   885 So. 2d at 1008 (same). Judge Scola’s well-supported holding constitutes the law of the case,
   and JetBlue offers no reason for this Court to reconsider it. Klay, 389 F.3d at 1197.
            Indeed, JetBlue ignores Judge Scola’s holding, and the many other analogous pass-through
   decisions, and asserts that that the only way to measure damages for FDUTPA is through a benefit
   of the bargain or price premium theory. Mot. at 11-12. But the primary case JetBlue relies on
   expressly involves a different theory of liability alleged by the plaintiff. See Carriuolo v. Gen.
   Motors Co., 823 F.3d 977, 989 (11th Cir. 2016) (“[T]he price premium that plaintiffs allege as

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   damages is consistent with their theory of liability” and “[t]he size of that premium . . . represents
   the damages attributable to that theory of liability”). The other cases JetBlue cites similarly
   involve different contexts where the price premium measure of damages applies and, thus, are
   readily distinguishable from pass-through cases like this one.12 JetBlue’s damages arguments,
   once again, “fall flat.” MTD Order at 12. As Judge Scola (and other judges) have held, the correct
   measure of damages in this case is the undisclosed profit JetBlue retained.13 There is sufficient
   evidence in the record of damages, and JetBlue has done nothing to rebut that evidence or show
   the absence of a genuine dispute of material fact.14 Thus, JetBlue’s Motion should be denied.
                    2.    Evidence of RICO Causation Precludes Summary Judgment
            With respect to Plaintiff’s RICO claim, JetBlue asserts that Plaintiff was not injured
   because there is no evidence she paid an inflated cost as a result of its deceptive acts. Mot. at 11.
   JetBlue is wrong. The very existence of the kickback scheme proves that the price Plaintiff paid
   for trip insurance was inflated by          (the amount of JetBlue’s undisclosed kickback). The
   evidence shows JetBlue represents a specific price for a trip insurance and secretly baked into that
   price is a kickback to JetBlue, which provides no insurance services whatsoever. Indeed, Daniel
   Roth (“Roth”), who submitted a declaration in support of JetBlue’s Motion, see SUMF, Ex. I.
   Chairs the American Academy of Actuaries Travel Insurance Work Group, which submitted a

   12
     JetBlue again attempts to read into the pass-through theory a requirement that simply does not
   exist and that has not been acknowledged to exist by a single court: that the case must be “premised
   on the notion that the plaintiffs did not get the benefit of their bargain and paid a price premium[.]”
   Mot. at 13-14. JetBlue does not cite a single case that adopts its view as a holding.
   13
      JetBlue asserts that Plaintiff cannot prove actual damages because she “voluntarily purchased a
   policy from AGA (not JetBlue) at a specified price that she agreed to pay, that she got and was
   covered by an insurance policy pursuant to the filed forms and rates filed with the state for the
   insurance policy, and that she did not pay an inflated price for that policy as a result of the
   compensation paid to JetBlue.” Mot. at 14. Putting aside that all these facts are disputed (as noted
   elsewhere), none of these purported facts are relevant to a FDUTPA claim.
   14
     JetBlue deliberately mischaracterizes the evidence to argue that “if Plaintiff is granted the relief
   she seeks as calculated by her designated expert, she will be awarded nearly all of the money she
   paid for her policy, see SUMF ¶¶ 71-74, resulting in an inequitable windfall to her.” Mot. at 11
   n.11. As damages expert Colin Weir (“Weir”) clearly explained at his deposition, the “per policy”
   fee of $21.40 for July 2017 is an illustrative calculation of the average fee collected by JetBlue
   during that month and not the damages owed to any consumer. RSF ¶¶72-73.


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   report stating that “the amount of compensation offered to travel insurance distributors has a direct
   impact on the types and prices of products offered to consumers.” RSF ¶66. Damages expert
   Weir also testified that the price of trip insurance is inflated. Id. While JetBlue may dispute the
   evidence of Plaintiff’s overpayment and assert (incorrectly) that true value must be determined by
   comparison shopping, this genuine dispute of material fact precludes summary judgment.
            Furthermore, RICO does not demand that damages be measured through price inflation.
   Indeed, RICO’s language on damages is broad and nonspecific: “Any person injured in his
   business or property by reason of a [RICO] violation . . . may sue therefor[.]” 18 U.S.C. §1964(c).
   Nothing suggests or implies that a plaintiff must show an inflated payment to prevail. And neither
   does the case law.15 Allstate Ins. Co. v. Palterovich, 653 F. Supp. 2d 1306, 1326 (S.D. Fla. 2009)
   (“The measure of civil RICO damages . . . is the harm flowing from the predicate acts, meaning
   any direct financial injury suffered by the plaintiffs as a result of those acts[.]”). Here, Plaintiff
   was injured because she parted with money that was represented to be a pass-through fee but
   JetBlue kept more than half of that money for itself. The measure of damages is the amount of
   JetBlue’s kickback. JetBlue has failed to show the absence of a genuine issue of material fact as
   to this claim. Thus, JetBlue’s Motion should be denied.
                    3.    JetBlue Mischaracterizes the Law on Unjust Enrichment
            As to Plaintiff’s unjust enrichment claim, JetBlue once again ignores Judge Scola’s prior
   holding, consistent with Zamber, that under the alleged facts, “the circumstances are such that it
   would be inequitable for [JetBlue] to retain the money because it obtained the money through
   alleged deceptive acts[,]” and that “even if [a] consumer is willing to pay the total price (with the
   overcharge) for the product or service, the misrepresentations or omissions related to the purported
   ‘pass-through’ charge render the retention of the overcharge inequitable.” MTD Order at 13 (citing
   Zamber, 282 F. Supp. 3d at 1301). JetBlue asserts that Plaintiff cannot prove that she was
   overcharged for her insurance or that it would be inequitable for JetBlue to retain the benefit
   Plaintiff conferred because Plaintiff received a valid and enforceable travel insurance plan (benefit
   of the bargain), and that the policy Plaintiff purchased was amongst the least expensive on the
   market. Mot. at 12-13. Even assuming these assertions are true (which Plaintiff does not concede),


   15
     In Bowe v. Public Storage, 106 F. Supp. 3d 1252 (S.D. Fla. 2015), cited by JetBlue, the Plaintiffs
   expressly and exclusively alleged an overcharge theory.

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   JetBlue’s retention of        of Plaintiff’s payment for trip insurance does not become equitable
   simply because Plaintiff received some value and because Plaintiff paid less money overall for
   Allianz’s plan than she would have for a competitor’s plan. There is a genuine dispute of material
   fact as to whether it would be inequitable for JetBlue to retain        of Plaintiff’s payment, which
   precludes summary judgment on Plaintiff’s unjust enrichment claim.
                    4.      JetBlue Failed to Show the Absence of a Genuine Dispute of
                            Material Fact with Respect to Article III Standing
            Plaintiff suffered an injury in fact for purposes of Article III standing because “[s]he seeks
   recovery of the portion of [her] premium that [JetBlue] kept despite making representations about
   the trip insurance premium that a consumer could reasonably interpret as a pass through charge,
   to which [she] is entitled under Florida law.” Zamber, 282 F. Supp. 3d at 1297-98. Once again,
   JetBlue ignores the virtually identical Zamber case and, instead, cites to a case from the Fifth
   Circuit discussing benefit-of-the-bargain damages under a contract theory (Rivera v. Wyeth-
   Ayerst Labs., 283 F.3d 315, 320 (5th Cir. 2002)), and a Southern District of Florida case discussing
   price premium damages in a different context, which was reversed by the Eleventh Circuit
   (DeBernardis v. IQ Formulations, LLC, 2018 WL 1536608, at *3 (S.D. Fla. Mar. 29, 2018),
   vacated and remanded, 942 F.3d 1076 (11th Cir. 2019)).               Once again, JetBlue tirelessly
   mischaracterizes Plaintiff’s case theory to attempt to fit a square peg into a round hole. Neither
   the Fifth Circuit’s decision in Rivera, the vacated DeBernardis decision, nor even the Eleventh
   Circuit’s decision reversing DeBernardis apply here. The virtually identical facts in Zamber do.
   Thus, Zamber – which JetBlue ignores – controls the analysis. Plaintiff has Article III standing.
            C.      JetBlue Failed to Meet Its Burden to Demonstrate the Absence of a
                    Genuine Issue of Material Fact as to Causation
                    1.      JetBlue’s Attempt to Relitigate FDUTPA Causation Should Be
                            Rejected
            Following the indistinguishable Zamber case, Judge Scola previously held that “under
   FDUTPA, causation . . . [is] shown by the fact that [the p]laintiff parted with money for what
   should have been a pass through charge but that was instead kept by [the defendant airline].” MTD
   Order at 12 (citing Zamber, 282 F. Supp. 3d at 1300 (collecting cases)). In so doing, Judge Scola
   rejected JetBlue’s argument that FDUTPA’s causation element requires Plaintiff to plead “she
   would not have made her purchase but for the alleged false impression . . . created by JetBlue.”
   ECF No. 32 at 10 (“MTD”); MTD Order at 12 (“JetBlue’s causation . . . argument[] also fall[s]
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   flat.”). it is strongly supported by Zamber and decisions by other judges in this District. See
   CubeSmart, 328 F. Supp. 3d at 1365; Deere, 198 F. Supp. 3d at 1340. Jankus, 650 F. Supp. 2d at
   1257; Bowe, 2014 WL 12029270, at *3. Judge Scola’s well-supported holding is now the law of
   the case and JetBlue offers no reason to reconsider Judge Scola’s holding. Klay, 389 F.3d at 1197.
   Indeed, JetBlue attempts to relitigate the issue by advancing the exact same argument on summary
   judgment that Judge Scola rejected at the motion to dismiss stage. Compare Mot. at 14 with MTD
   at 10. Ultimately, JetBlue has failed to meet its burden to demonstrate the absence of genuine
   issues of material fact with respect to causation for Plaintiff’s FDUTPA claim. Thus, JetBlue’s
   Motion should be denied.
                    2.      JetBlue Fails to Show the Absence of a Dispute of Genuine
                            Fact as to Causation for Plaintiff’s RICO Claim
            In denying JetBlue’s motion to dismiss, Judge Scola held that Plaintiff adequately pleaded
   causation for her RICO claim where she alleged she “relied on JetBlue and the enterprise
   co-conspirator’s false statements and omissions . . . that the full customer premium went to the
   cost of the travel insurance policy,” and that she was injured by JetBlue’s scheme because, “as a
   direct result of JetBlue’s deception, she paid not only for trip insurance, but, unknowingly, for a
   kickback to JetBlue as well.” MTD Order at 16.16 The evidence now proves these allegations.
   Specifically, Plaintiff unequivocally testified at her deposition that she did not know that JetBlue
   received         of the fee she paid for trip insurance and that had she known “that there was going
   to be a kickback or a commission of                  , [she] probably would not have bought the
   insurance.” RSF ¶¶48-51. JetBlue ignores this unassailable testimony and cherry-picks out-of-
   context snippets from her deposition to argue that Plaintiff “admitted” JetBlue’s
   misrepresentations and omissions played no role in her purchase decision and that Plaintiff thought
   the price of the trip insurance offered by JetBlue was a good deal. Mot. at 16. Plaintiff’s testimony
   (that JetBlue ignores) proves that she does not now think the price is a good deal, and the fact that
   Plaintiff previously thought the price was a good deal before she discovered JetBlue’s kickback
   only proves she was deceived at the time of her purchase. JetBlue can ignore this reality, but at



   16
     JetBlue’s reliance on Judge Middlebrooks’s order in Donoff is a thinly veiled (and improper)
   request for reconsideration of Judge Scola’s holding. This Court should reject JetBlue’s improper
   request for reconsideration. Klay, 389 F.3d at 1197.

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   best, JetBlue has created a genuine dispute of material fact that precludes summary judgment on
   the issue of causation. Thus, JetBlue’s Motion should be denied.
            D.      Genuine Disputes of Material Fact Regarding Whether Plaintiff
                    Conferred a Direct Benefit on JetBlue Preclude Summary Judgment
                    on Plaintiff’s Unjust Enrichment Claim
            In denying JetBlue’s motion to dismiss, Judge Scola relied on the factually
   indistinguishable Zamber case and held that Plaintiff adequately alleged “[s]he conferred a benefit
   on [JetBlue] because [s]he paid money that ultimately was kept by [JetBlue].” MTD Order at 12
   (citing Zamber, 282 F. Supp. 3d at 1301). Judge Scola agreed with Judge Martinez and Judge
   Goodman that “[i]t is immaterial whether [the defendant airline] initially retained a portion of the
   funds Plaintiff paid for his policy and then sent the rest to the insurer or if all the funds went to an
   insurer and then a portion was ‘kicked back’ to [the defendant airline].” Id. at 12-13. All three
   judges agree that “[u]nder either scenario, money was transferred from Plaintiff’s pocket and into
   [the defendant airline]’s” and that “[t]hat is sufficient to confer a direct benefit.” Id. at 13. The
   holding of these three judges is consistent with Florida law. See Williams v. Wells Fargo Bank
   N.A., 2011 WL 4368980, at *9 (S.D. Fla. Sept. 19, 2011) (“[J]ust because the benefit conferred by
   Plaintiffs on Defendants did not pass directly from Plaintiffs to Defendants – but instead passed
   through a third party – does not preclude an unjust-enrichment claim. . . . Indeed to hold otherwise
   would be to undermine the equitable purpose of unjust enrichment claims.”); Solidda Grp., S.A. v.
   Sharp Elecs. Corp., 2014 WL 12513613, at *3 (S.D. Fla. Mar. 6, 2014) (“[N]either the absence of
   direct contact between [plaintiff] and [defendants] nor the existence of intermediaries in the flow
   of the subject benefits forecloses a claim of unjust enrichment.”); State Farm Mut. Auto. Ins. Co.
   v. Brown, 2017 WL 1291995, at *7 (S.D. Fla. Mar. 30, 2017) (“When defendants act in concert to
   unjustly obtain benefits, each can be held to have been unjustly enriched by virtue of the benefit
   derived from the scheme, even if the benefit was not conferred on them directly.”). JetBlue, once
   again, ignores the indistinguishable Zamber case, which Judge Scola’s holding relied on, and
   instead, cites to distinguishable case law that plainly involves “indirect” benefits.17 Under


   17
     In Johnson v. Catamaran Health Sol., LLC, 687 F. App’x 825, 830 (11th Cir. 2017), the plaintiffs
   paid a membership fee to a health benefit program, which in turn paid separate premiums to a
   health insurer. Here, Plaintiff paid for trip insurance, and JetBlue retained   of her payment.
   John C. Nordt, III, M.D. & Assocs., P.A. v. Colina Ins. Ltd., 2018 WL 2688793, at *4 (S.D. Fla.

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   applicable law (which JetBlue fails to distinguish), the benefit Plaintiff conferred on JetBlue is
   clearly direct.
            Alternatively, relying on Virgilio v. Ryland Grp., Inc., 680 F.3d 1329, 1337 (11th Cir.
   2012), JetBlue asserts that the evidence “establishes that JetBlue was paid pursuant to a separate
   Marketing Agreement and not from amounts paid by Plaintiff for her insurance” such that “none
   of the money paid by Plaintiff was ultimately kept by JetBlue.” Mot. at 17 n.15. JetBlue’s
   argument fails for two reasons.        First, JetBlue ignores the fact that Judge Scola already
   persuasively rejected JetBlue’s attempt to rely on Virgilio. MTD Order at 13 (emphasis in
   original). The Court should not entertain JetBlue’s improper request for reconsideration of Judge
   Scola’s Order. Klay, 389 F.3d at 1197.
            Second, despite JetBlue’s tireless attempts to mischaracterize reality, if the evidence in this
   case proves anything at all, it is this: JetBlue was most certainly not paid pursuant to the terms of
   the Marketing Agreement. See infra. Further, testimony by AGA’s Chief Sales Officer, Richard
   Horwitz, demonstrates that the money paid by AGA to JetBlue as a kickback or “marketing fee”
   is traceable to premium payments made by customers who purchase the insurance product. See
   RSF ¶¶13-17. Testimony by Michael Quiello, AGA’s Manager of Regulatory Reporting also
   indicates that AGA compensates JetBlue on a commission basis for its role as a producer, and that
   the Marketing Agreement does not mention this arrangement because it is illegal due to the fact
   that JetBlue does not hold the proper license. Id. ¶30. With its misrepresentations of the law,
   cherry-picking of record evidence, and brazen denial of reality, JetBlue has, at best, created a
   genuine dispute of material fact that precludes summary judgment. JetBlue’s Motion should be
   denied as to Plaintiff’s unjust enrichment claim.
            E.       JetBlue Failed to Meet Its Burden to Demonstrate the Absence of Any
                     Genuine Dispute of Material Fact with Respect to Plaintiff’s RICO
                     Conspiracy Claim
            In denying JetBlue’s motion to dismiss, Judge Scola rejected JetBlue’s challenges to
   Plaintiff’s RICO conspiracy claim and found that Plaintiff had “sufficiently alleged facts
   establishing an agreement between co-conspirators to violate RICO[.]” MTD Order at 14 n.2; see


   Apr. 13, 2018), the plaintiff doctor provided medical services to patients insured by defendant
   insurer and “failed to show how providing medical services to . . . insureds conferred a direct
   benefit on the [insurer].”

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   also id. at 17. Now there is undisputed evidence in the record that proves these allegations. The
   Marketing Agreement between JetBlue and AGA governs payments of millions of dollars between
   sophisticated parties, yet is shockingly vague as to the measure of JetBlue’s compensation. RSF
   ¶30. The current iteration of the Marketing Agreement provides that AGA will pay JetBlue a fee
   of           for each                                           (which is a violation of JetBlue’s
   privacy policy),18 and that the parties will thereafter “


                                     ” Id. There is no evidence that JetBlue and AGA ever
                                                                                , as provided in the
   Marketing Agreement. Yet, seemingly through magic, the evidence shows that JetBlue ends up
   being paid        of each policy sold. RSF ¶¶7, 73 . The Marketing Agreement is a fraud and is
   proof of an agreement to violate RICO.
            Common sense dictates that such a lucrative income stream would be memorialized in
   some contract. JetBlue’s right to these millions of dollars in payments (that total exactly        of
   each policy sold) is memorialized nowhere. And this omission is deliberate on the part of JetBlue
   and Allianz who agreed to hide, and took steps to hide, JetBlue’s receipt of a        commission
   because JetBlue’s lack of a license to recommend or sell insurance made its receipt of a
   commission illegal. Indeed, JetBlue’s Chief of Staff, Michael Quiello (“Quiello”), provided
   comments to a draft of the Fourth Amendment to the Marketing Agreement, which highlighted the
   provision related to the payment of an “                                         ” and stated: “




          ” RSF ¶¶2, 30. That same day, presumably before he expressed his understanding of why it
   was necessary for the parties to conceal the truth about how JetBlue was actually compensated,
   Quiello emailed Matt Brey, Director, Strategic Partnerships, at AGA to ask: “
                                                   ” Id. This unrebutted evidence proves that JetBlue
   and Allianz conspired to hide the true nature of their illegal conduct through mail and wire fraud
   and money laundering, in violation of RICO.


   18
      JetBlue Airways Privacy Policy, https://www.jetblue.com/legal/privacy (last visited Dec. 5,
   2019).

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            JetBlue ignores this evidence to boldly assert that there is “no evidence of an agreement by
   JetBlue to violate RICO nor any evidence that shows actions by JetBlue inconsistent with its
   pursuit of its own self-interest.” Mot. at 16-17. The record evidence is more than sufficient to
   allow a jury to find that an agreement to violate RICO exists. See ADA v. Cigna Corp., 605 F.3d
   1283, 1293 (11th Cir. 2010) (“[T]he existence of conspiracy may be inferred from the conduct of
   the participants.”). JetBlue’s willful ignorance of the record evidence is insufficient to meet its
   burden to demonstrate the absence of any genuine dispute of material fact as to Plaintiff’s RICO
   conspiracy claim. Accordingly, JetBlue’s Motion should be denied.
            F.      JetBlue Failed to Meet Its Burden to Present Any Evidence to
                    Support Its Affirmative Defense Based on the Filed Rate Doctrine
            JetBlue moves for summary judgment on its affirmative defense based on the filed rate
   doctrine, Mot. at 19-20, but JetBlue has failed to meet its burden of proof. As the proponent of its
   affirmative defense, JetBlue bears the burden of proof to demonstrate that a validly filed rate
   governs the transactions underlying Plaintiff’s purchase. Patel v. Specialized Loan Servicing,
   LLC, 904 F.3d 1314, 1337 (11th Cir. 2018) (Jordan, J., dissenting) (“Because the federal filed rate
   doctrine can bar a claim only where there are validly filed rates, the defendant relying on the
   doctrine must show that a validly filed rate governs the transaction at issue.”); see also Perkins v.
   Ottershaw Inv. Ltd., 2007 WL 9701703, at *2 (S.D. Fla. Jan. 19, 2007) (“where the moving parties
   request summary judgment on the basis of an affirmative defense, they have the initial burden of
   making a showing that the affirmative defense is applicable”).19 “Indeed, the Supreme Court has
   emphasized the limited scope of the filed rate doctrine to preclude damage claims only where there
   are validly filed rates.” Abels v. JPMorgan Chase Bank, N.A., 678 F. Supp. 2d 1273, 1277 (S.D.
   Fla. 2009). Further, “whether a filed rate applies to a given transaction is a precise factual inquiry,
   not a loose analysis to be done freehand.” Patel, 904 F.3d at 1337.
            JetBlue has not presented any evidence that a validly filed rate governs Plaintiff’s
   purchases, and thus, has failed to meet its burden of proof. Indeed, JetBlue’s affirmative defense
   relies entirely on an inadmissible and mischaracterized declaration by the former chief actuary of
   Allianz. Mot. at 20 (citing SUMF at ¶¶67-70); ECF No. 139-10 (“Roth Declaration” or “Roth

   19
     See also Taylor v. Sturgell, 553 U.S. 880, 907 (2008) (“Ordinarily, it is incumbent on the
   defendant to plead and prove such a[n affirmative] defense[.]”); Thorsteinsson v. M/V Drangur,
   891 F.2d 1547, 1551 (11th Cir. 1990) (defendant has burden of proof on affirmative defense).

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   Decl.”). The Roth Declaration does not prove the existence of a validly filed rate for two reasons.
   First, it is inadmissible because it violates the best evidence rule codified in Rule 1002 of the
   Federal Rules of Evidence: “[a]n original writing . . . is required in order to prove its content[.]”
   See Idearc Media Corp. v. Kimsey & Assocs., P.A., 2011 WL 1560653, at *4 (M.D. Fla. Apr. 25,
   2011) (“If proffered evidence would violate the best evidence rule, it is inadmissible.”). “[I]t is
   critical that the fact finder be able to see the alleged[ rate filings] in order to evaluate whether or
   not [a validly filed rate governs the transaction at issue]. Without the [rate filings] in evidence the
   affidavits referring to them . . . violate the best evidence rule and must be excluded.” Id.
            Second, even if the Roth Declaration were admissible (it is not), it does not prove the
   existence of a validly filed rate or establish that Plaintiff would pay a rate below any purported
   filed rate if she recovers damages. Indeed, the Roth Declaration never states what the purported
   filed rates are or that the purported filed rates include the amount of JetBlue’s kickback. In fact,
   despite JetBlue’s misrepresentation to the contrary, Mot. at 20, the Roth Declaration proves that
   the amount of JetBlue’s kickback is not included in AGA’s rate filings: “[r]ate filings do not, and
   are not required or intended to, contain information regarding what is paid to any one particular
   marketing partner regardless of the categorization of the payment as commission or marketing
   fees.” Roth Decl. ¶4. The Roth Declaration also proves that customers like Plaintiff do not pay
   any specific filed rate because the “purpose of a rate filing is to inform the state regulator of the
   estimated distribution costs for the insurance in the aggregate[,]” and that is what was done with
   Allianz’s rate filings. Id.
            Furthermore, to the extent there is any admissible evidence in the record regarding rate
   filings, it contradicts JetBlue’s position.    Specifically, Allianz’s former Chief Underwriting
   Officer, John Culbertson (“Culbertson”), testified not only that there were times when the pricing
   of the insurance products did not comport with the filed rate, but also that he specifically raised
   concerns with Roth regarding this problem. RSF ¶¶68-69.
            Furthermore, JetBlue concedes the insurance products it sells are hybrid products
   consisting of trip insurance combined with travel assistance services. See Mot. at 1 n.2 (“The
   product purchased by Plaintiff upon which her claims are premised contains insurance and
   assistance features.”). And Culbertson testified that the cost of these products is calculated as a
   straight percentage of the customer’s ticket price, not by reference to any filed rate (assuming any


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   validly filed rate exists in the first place, which there is no evidence of). RSF ¶¶69. This is
   supported by the fact that the original Marketing Agreement between JetBlue and AGA calculated
   the cost of the insurance to the consumer as a flat percentage of the trip cost. Id. As a result,
   Culbertson testified that “
                                                                                           ” Id. Thus, the
   filed rate doctrine is not applicable under these facts because, to the extent there is any evidence
   of a filed rate, it shows that no customer is actually paying any validly filed rate.
            At bottom, JetBlue has failed to meet its burden to point to any evidence to support its
   affirmative defense based on the filed rate doctrine and, thus, JetBlue’s Motion should be denied.
   IV.      CONCLUSION
            For the foregoing reasons, Plaintiff respectfully requests that JetBlue’s Motion be denied
   in its entirety.

    DATED: December 6, 2019                         ROBBINS GELLER RUDMAN
                                                      & DOWD LLP
                                                    PAUL J. GELLER
                                                    Florida Bar No. 984795
                                                    STUART A. DAVIDSON
                                                    Florida Bar No. 0084824
                                                    JASON H. ALPERSTEIN
                                                    Florida Bar No. 64205
                                                    CHRISTOPHER C. GOLD
                                                    Florida Bar No. 88733
                                                    BRADLEY M. BEALL
                                                    Florida Bar No. 1010635


                                                                  Christopher C. Gold
                                                                CHRISTOPHER C. GOLD

                                                    120 East Palmetto Park Road, Suite 500
                                                    Boca Raton, FL 33432
                                                    Telephone: 561/750-3000
                                                    561/750-3364 (fax)
                                                    pgeller@rgrdlaw.com
                                                    sdavidson@rgrdlaw.com
                                                    jalperstein@rgrdlaw.com
                                                    cgold@rgrdlaw.com
                                                    bbeall@rgrdlaw.com

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                                       LEÓN COSGROVE, LLP
                                       SCOTT B. COSGROVE
                                       Florida Bar No. 161365
                                       ALEC H. SCHULTZ
                                       Florida Bar No. 35022
                                       JOHN R. BYRNE
                                       Florida Bar No. 126294
                                       JEREMY L. KAHN
                                       Florida Bar No. 105277
                                       255 Alhambra Circle, Suite 800
                                       Coral Gables, FL 33134
                                       Telephone: 305/740-1975
                                       scosgrove@leoncosgrove.com
                                       aschultz@leoncosgrove.com
                                       jbyrne@leoncosgrove.com
                                       jkahn@leoncosgrove.com

                                       Counsel for Plaintiff and the Class




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                                     CERTIFICATE OF SERVICE

            I hereby certify under penalty of perjury that on December 6, 2019, I authorized the
   electronic filing of the foregoing with the Clerk of the Court using the CM/ECF system which will
   send notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List,
   and I hereby certify that I caused the mailing of the foregoing via the United States Postal Service
   to the non-CM/ECF participants indicated on the attached Manual Notice List.

                                                                  Christopher C. Gold
                                                                CHRISTOPHER C. GOLD

                                                      ROBBINS GELLER RUDMAN
                                                        & DOWD LLP
                                                      120 East Palmetto Park Road, Suite 500
                                                      Boca Raton, FL 33432
                                                      Telephone: 561/750-3000
                                                      561/750-3364 (fax)

                                                      E-mail: cgold@rgrdlaw.com




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